Case 2:99-cr-20208-.]PI\/| Document 107 Filed 06/07/05 Page 1 of 2 Page|D 51

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UNITEI) STATES 0F AMERICA '

-vs- Case No. 99cr2 0208-2-Ml

ILLIAMS

Da)[~v
J*”‘~i

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention/probable cause hearing
is set for TI-IURSDAY, JUNE 9, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M.
Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

________-___,
Date: June 7, 2005 L/\A

`TU M. PHAM
UNrrED srATEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1](2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 410 (BFBE) Order ot Tempcrary Deterition

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Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:99-CR-20208 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

